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                              IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FUSE, LLC, et al.,1                                           Case No. 19-10872 (KG)

                                   Debtors.                   (Jointly Administered)

                 NOTICE OF (I) COMMENCEMENT OF PREPACKAGED
              CHAPTER 11 BANKRUPTCY CASES; (II) COMBINED HEARING
              ON THE DISCLOSURE STATEMENT, CONFIRMATION OF THE
           PREPACKAGED JOINT PLAN OF REORGANIZATION, AND RELATED
           MATTERS; AND (III) OBJECTION DEADLINES AND SUMMARY OF THE
             DEBTORS’ PREPACKAGED JOINT PLAN OF REORGANIZATION


NOTICE IS HEREBY GIVEN as follows:

         On April 22, 2019 (the “Petition Date”), Fuse, LLC and certain of its affiliates, as debtors in the
above-captioned chapter 11 cases (collectively, the “Debtors”), filed with the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”): (a) the Debtors’ Prepackaged Joint Plan of
Reorganization dated April 18, 2019 (as it may be amended or modified, the “Plan”) [Docket No. 13] and
(b) the Disclosure Statement for Debtors’ Prepackaged Joint Chapter 11 Plan of Reorganization dated
April 18, 2019 (as it may be amended or modified, the “Disclosure Statement”) [Docket No. 14] pursuant
to sections 1125 and 1126(b) of chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”).2 Copies of the Plan and the Disclosure Statement may be obtained upon request of the Debtors’
proposed counsel at the address specified below and are on file with the Clerk of the Bankruptcy Court.

        Additionally, parties may request a copy of the Plan and the Disclosure Statement through
Kurtzman Carson Consultants LLC (the “Voting Agent”) by: (i) accessing the Debtors’
restructuring website at http://www.kccllc.net/fusemedia; (ii) calling the Voting Agent at (888) 647-
1737 (toll free) or +1 (310) 751-2624 (international); or (iii) emailing FuseMediaInfo@kccllc.com.




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  The Debtors and the last four digits of their taxpayer identification numbers include: Fuse Media, Inc. (9721);
Fuse Media, LLC (0560); Fuse, LLC (1888); JAAM Productions, LLC (5499); SCN Distribution, LLC (9656);
Latino Events LLC (8204); Fuse Holdings LLC (5673); Fuse Finance, Inc. (8683); and FM Networks LLC (6500).
The Debtors’ headquarters and service address is 700 North Central Avenue, Suite 600, Glendale, CA 91203.
For the avoidance of doubt, Debtors Fuse Media, Inc. and Fuse Media, LLC are not proponents of the Plan and
the provisions of the Plan shall not extend to those entities.
2
  Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan or the
Disclosure Statement, as applicable. The statements contained herein are summaries of the provisions contained in
the Disclosure Statement and the Plan and do not purport to be precise or complete statements of all the terms and
provisions of the Plan or documents referred therein. To the extent there is a discrepancy between the terms herein
and the Plan or Disclosure Statement, the Plan or Disclosure Statement, as applicable, shall govern and control. For
a more detailed description of the Plan, please refer to the Disclosure Statement.



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         The Plan is a “prepackaged” plan of reorganization. The solicitation of votes on the Plan began
pre-bankruptcy. Only Holders of Senior Secured Notes Claims (Class 3) are entitled to vote on the
Plan. The primary purpose of the Plan is to effectuate a restructuring of the Debtors’ business. The
Debtors believe that any valid alternative to confirmation of the Plan would result in significant delays,
litigation, and additional costs and, ultimately, would jeopardize recoveries for holders of allowed claims.

Information Regarding the Plan

        Voting Record Date/Deadline. The voting record date was April 5, 2019, which was the date for
determining which holders of Class 3 Senior Secured Notes Claims were entitled to vote on the Plan. The
voting deadline is May 9, 2019.

        Objections to the Plan. The deadline for filing objections to the Plan and the Disclosure
Statement is May 29, 2019, at 4:00 p.m., prevailing Eastern time. Any objection (each, an
“Objection”) must: (a) be in writing; (b) comply with the Federal Rules of Bankruptcy Procedure and the
Bankruptcy Local Rules for the District of Delaware; (c) state the name and address of the objecting party
and the amount and nature of the claim or interest beneficially owned by such entity; and (d) state with
particularity the legal and factual basis for such objections, and, if practicable, a proposed modification to
the Plan that would resolve such objections.

         Objections must be filed with the Bankruptcy Court and served so as to be actually received no
later than May 29, 2019, at 4:00 p.m., prevailing Eastern time, by those parties who have filed a notice
of appearance in the Debtors’ chapter 11 cases as well as the following parties:

        Debtors                                       Fuse, LLC
                                                      700 North Central Avenue, Suite 600
                                                      Glendale, CA 91203
                                                      Attn: Miguel Roggero
        Proposed Counsel for the Debtors              Pachulski Stang Ziehl & Jones LLP
                                                      919 N. Market Street
                                                      17th Floor
                                                      Wilmington, DE 19899 (Courier 19801)
                                                      Attn: Richard M. Pachulski, Esq.
                                                              James E. O’Neill, Esq.
        Counsel to the Senior Secured Notes           Wilmer Cutler Pickering Hale and Dorr LLP
        Trustee                                       7 World Trade Center
                                                      250 Greenwich Street
                                                      New York, NY 10007
                                                      Attn: Andrew N. Goldman, Esq.

        Counsel to the Supporting Noteholders         Fried, Frank, Harris, Shriver & Jacobson LLP
                                                      One New York Times Plaza
                                                      New York, NY 10004
                                                      Attn: Brad E. Scheler, Esq.
                                                      Jennifer Rodburg, Esq.
                                                      Andrew M. Minear, Esq.

                                                      and




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                                                     Richards, Layton & Finger, P.A.
                                                     One Rodney Square
                                                     920 North King Street
                                                     Wilmington, DE 19801
                                                     Attn: Michael J. Merchant

        United States Trustee                        Office of the United States Trustee
                                                     844 King Street
                                                     Suite 2207
                                                     Wilmington, DE 19801

UNLESS AN OBJECTION IS TIMELY SERVED AND FILED IN ACCORDANCE WITH THIS
NOTICE, IT MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT. AS DESCRIBED
BELOW, YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
INCLUDING THE DISCHARGE, RELEASE, EXCULPATION, AND INJUNCTION
PROVISIONS, AS YOUR RIGHTS MIGHT BE AFFECTED.

         Procedures for Objections to the Proposed Assumption or Rejection of an Executory
Contract and Unexpired Lease and Proposed Cure Amounts. The Plan provides that all Executory
Contracts and Unexpired Leases will be rejected as of the Effective Date of the Plan, except for Executory
Contracts and Unexpired Leases that (1) are identified in the Plan Supplement for assumption, (2) have
been previously assumed pursuant to an order of the Bankruptcy Court, (3) are the subject of a separate
motion or notice to assume filed by the Debtors and pending as of the date on which the Plan becomes
effective, or (4) previously expired or terminated pursuant to their own terms or by agreement of the
parties thereto. See Plan, Article VII.A. To the extent that the Debtors seek to assume one or more
Executory Contracts or Unexpired Leases, the Debtors shall file with the Court a list of such Executory
Contacts and Unexpired Leases and their respective Cure Amounts and serve a notice (the “Assumption
and Cure Notice”) on the non-Debtor counterparties to such Executory Contacts and Unexpired Leases
not less than twenty-one (21) days prior to the date of the Confirmation Hearing.

         Any counterparty to an Executory Contract or Unexpired Lease that disputes the Debtors’
proposed cure amount or otherwise objects to the assumption of such Executory Contract or Unexpired
Lease, or objects to the rejection of an Executory Contract or Unexpired Lease, shall file an objection
thereto that complies with the requirements described above with respect to objections to the Plan prior to
May 22, 2019, at 4:00 p.m., prevailing Eastern time.

        Please be advised that the Debtors reserve all rights to amend, revise, or supplement any
documents relating to the Plan and/or to be executed, delivered, assumed, and/or performed in connection
with the consummation of the Plan on the Effective Date, including the Assumption and Cure Notice and
the Executory Contacts and Unexpired Leases listed thereon.

                                      Summary of Plan Treatment

         The following chart summarizes the treatment provided by the Plan to each class of Claims
against and Interests in the Debtors, and indicates the voting status of each class. This chart is only a
summary of the classification of Claims and Equity Interests under the Plan. References should be made
to the entire Disclosure Statement and the Plan for complete description.




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                                                                             Entitled
                   Type of Claim or          Estimated                         to         Estimated Recovery
    Class              Interest            Claim Amount       Impairment      Vote            Under Plan

     1         Other Priority Claims             $0               No            No       100%

     2         Other Secured Claims              $0               No            No       100%

     3         Senior Secured Notes         $242,000,000          Yes           Yes      Substantially greater
               Claims                       plus interest,                               than liquidation value,
                                              fees, and                                  but substantially less
                                              expenses                                   than outstanding claims

     4         General Unsecured           $10,000,000 3–         Yes           No       0%
               Claims                      $25,000,000
                                             (approx.)

     5         Equity Interests in              N/A               Yes           No       0%
               Debtors


            Non-Voting Status of Holders of Certain Claims and Interests and Contract Parties

        As set forth above, certain holders of Claims and all holders of Equity Interests are not entitled to
vote on the Plan. As a result, such parties did not receive any ballots and other related solicitation
materials in order to vote on the Plan. Claims in Classes 1 and 2 are Unimpaired under the Plan, and
therefore, are presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Each Holder of an Allowed Claim in Class 3 is entitled to vote either to accept or to reject the Plan. Only
those votes cast by Holders of Allowed Claims in Class 3 shall be counted in determining whether
acceptances have been received sufficient in number and amount to obtain Confirmation. Holders of
Class 4 General Unsecured Claims and Class 5 Equity Interests in the Debtors are Impaired and shall
receive no distribution under the Plan on account of such Claims and Equity Interests and are therefore
deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. To the extent
Class 4 is entitled to vote in favor of the Plan, the Supporting Noteholders have each agreed to vote in
favor of the Plan with respect to such holders’ Deficiency Claim. Finally, the Plan provides that all of the
Debtors’ executory contracts and unexpired leases will be rejected, unless specifically identified for
assumption. You should assume that your contract and/or lease will be rejected, unless you are notified
that such contract and/or lease will be assumed by the Debtors.

        As explained above, the Voting Agent will provide you, free of charge, with copies of the Plan
and the Disclosure Statement, upon request.

                             Discharge, Injunctions, Exculpation, and Releases4

        Please be advised that the Plan contains certain discharge, release, exculpation, and injunction
provisions as follows:




3
  This amount excludes the Deficiency Claim.
4
  The Plan provisions referenced herein are for summary purposes only and do not include all provisions of the Plan
that may affect your rights. Defined terms used in this summary have the meanings ascribed in the Plan. If there is
an inconsistency between the provisions set forth herein and the Plan, the Plan governs.



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A.   Discharge of Claims

     To the fullest extent provided under section 1141(d)(1)(A) and other applicable provisions of the
     Bankruptcy Code, except as otherwise expressly provided by the Plan or the Confirmation Order,
     all consideration distributed under the Plan will be in exchange for, and in complete satisfaction,
     settlement, discharge, and release of, all Claims and Equity Interests of any kind or nature
     whatsoever against the Debtors or any of their Assets or properties, and regardless of whether any
     property will have been distributed or retained pursuant to the Plan on account of such Claims or
     Equity Interests. Except as otherwise expressly provided by the Plan or the Confirmation Order,
     upon the Effective Date, the Debtors and their Estates will be deemed discharged and released
     under and to the fullest extent provided under section 1141(d)(1)(A) and other applicable
     provisions of the Bankruptcy Code from any and all Claims and Equity Interests of any kind or
     nature whatsoever, including, but not limited to, demands and liabilities that arose before the
     Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or 502(i) of the
     Bankruptcy Code.

B.   Releases by Debtors

     EFFECTIVE AS OF THE EFFECTIVE DATE, FOR GOOD AND VALUABLE
     CONSIDERATION PROVIDED BY EACH OF THE RELEASED PARTIES, THE
     ADEQUACY OF WHICH IS HEREBY ACKNOWLEDGED AND CONFIRMED, THE
     DEBTORS AND REORGANIZED DEBTORS, IN THEIR INDIVIDUAL CAPACITIES AND
     AS DEBTORS-IN-POSSESSION, THE FUSE LITIGATION TRUST AND THE LITIGATION
     TRUSTEE (COLLECTIVELY, THE “RELEASING PARTIES”) WILL BE DEEMED TO
     HAVE CONCLUSIVELY, ABSOLUTELY, UNCONDITIONALLY, IRREVOCABLY, AND
     FOREVER PROVIDED A FULL DISCHARGE, WAIVER AND RELEASE TO THE
     RELEASED PARTIES (AND EACH SUCH RELEASED PARTY SO RELEASED SHALL BE
     DEEMED FOREVER RELEASED, WAIVED AND DISCHARGED BY THE RELEASING
     PARTIES) AND THEIR RESPECTIVE PROPERTIES FROM ANY AND ALL CLAIMS,
     CAUSES OF ACTION, LITIGATION CLAIMS AND ANY OTHER DEBTS, OBLIGATIONS,
     RIGHTS, SUITS, DAMAGES, ACTIONS, REMEDIES, AND LIABILITIES WHATSOEVER,
     WHETHER KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, EXISTING AS OF
     THE EFFECTIVE DATE OR THEREAFTER ARISING, IN LAW, AT EQUITY, WHETHER
     FOR TORT, CONTRACT, OR OTHERWISE, BASED IN WHOLE OR IN PART UPON ANY
     ACT OR OMISSION, TRANSACTION, OR OTHER OCCURRENCE OR CIRCUMSTANCES
     EXISTING OR TAKING PLACE PRIOR TO OR ON THE EFFECTIVE DATE ARISING
     FROM OR RELATED IN ANY WAY IN WHOLE OR IN PART TO THE DEBTORS, THE
     CHAPTER 11 CASES, THE DISCLOSURE STATEMENT, THE PLAN OR THE
     SOLICITATION OF VOTES ON THE PLAN THAT SUCH RELEASING PARTY WOULD
     HAVE BEEN LEGALLY ENTITLED TO ASSERT (WHETHER INDIVIDUALLY OR
     COLLECTIVELY) OR THAT ANY HOLDER OF A CLAIM OR EQUITY INTEREST OR
     OTHER ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT FOR OR ON
     BEHALF OF THE DEBTORS, THEIR ESTATES OR THE REORGANIZED DEBTORS
     (WHETHER DIRECTLY OR DERIVATIVELY) AGAINST ANY OF THE RELEASED
     PARTIES; PROVIDED, HOWEVER, THAT THE FOREGOING PROVISIONS OF THIS
     RELEASE SHALL NOT OPERATE TO WAIVE OR RELEASE (I) ANY OFFSET, DEFENSE,
     COUNTERCLAIM, REDUCTION, OR CREDIT THAT THE DEBTORS OR REORGANIZED
     DEBTORS MAY HAVE WITH REGARD TO ANY CLAIM ASSERTED AGAINST THEM
     BY A RELEASED PARTY; (II) ANY CAUSES OF ACTION EXPRESSLY SET FORTH IN
     AND PRESERVED BY THE PLAN OR THE PLAN SUPPLEMENT; (III) ANY CAUSES OF
     ACTION ARISING FROM FRAUD, GROSS NEGLIGENCE, OR WILLFUL MISCONDUCT


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     AS DETERMINED BY FINAL ORDER OF THE BANKRUPTCY COURT OR ANY OTHER
     COURT OF COMPETENT JURISDICTION; AND/OR (IV) THE RIGHTS OF SUCH
     RELEASING PARTY TO ENFORCE THE PLAN AND THE CONTRACTS, INSTRUMENTS,
     RELEASES, INDENTURES, AND OTHER AGREEMENTS OR DOCUMENTS DELIVERED
     UNDER OR IN CONNECTION WITH THE PLAN OR ASSUMED PURSUANT TO THE
     PLAN OR ASSUMED PURSUANT TO FINAL ORDER OF THE BANKRUPTCY COURT.
     THE FOREGOING RELEASE SHALL BE EFFECTIVE AS OF THE EFFECTIVE DATE
     WITHOUT FURTHER NOTICE TO OR ORDER OF THE BANKRUPTCY COURT, ACT OR
     ACTION UNDER APPLICABLE LAW, REGULATION, ORDER, OR RULE AND WITHOUT
     NEED FOR ANY NOTICE TO OR ANY VOTE, CONSENT, AUTHORIZATION,
     APPROVAL, RATIFICATION OR OTHER ACTION BY ANY ENTITY OR OTHER PERSON
     OR ANY DIRECTOR, STOCKHOLDER, SECURITY HOLDER, MANAGER, MEMBER, OR
     PARTNER (OR BOARD THEREOF) OF ANY ENTITY AND THE CONFIRMATION
     ORDER WILL PERMANENTLY ENJOIN THE COMMENCEMENT OR PROSECUTION BY
     ANY PERSON OR ENTITY, WHETHER DIRECTLY, DERIVATIVELY OR OTHERWISE,
     OF ANY CLAIMS, OBLIGATIONS, SUITS, JUDGMENTS, DAMAGES, DEMANDS,
     DEBTS, RIGHTS, CAUSES OF ACTION, OR LIABILITIES RELEASED PURSUANT TO
     THIS RELEASE. NOTWITHSTANDING THE FOREGOING, THE DEBTORS ARE NOT
     RELEASING THE DEBTORS (BUT THEY ARE RELEASING THE RELATED PERSONS
     TO THE DEBTORS PURSUANT TO THIS PARAGRAPH).

     The Released Parties are, collectively, the following parties each in its capacity as such: (a) the
     Debtors; (b) the Debtors’ current and former directors and officers; (c) the Reorganized Debtors;
     (d) the Senior Secured Notes Trustee; (e) the Supporting Noteholders; (f) the Holders of the
     Senior Secured Notes Claims who vote in favor of the Plan; and (g) the Related Persons of each
     of (a) through (f) of the foregoing.

C.   Third Party Release By Holders of Claims

     AS OF AND SUBJECT TO THE OCCURRENCE OF THE EFFECTIVE DATE, EXCEPT FOR
     THE RIGHTS THAT REMAIN IN EFFECT FROM AND AFTER THE EFFECTIVE DATE TO
     ENFORCE THE PLAN AND THE PLAN DOCUMENTS, FOR GOOD AND VALUABLE
     CONSIDERATION, THE ADEQUACY OF WHICH IS HEREBY CONFIRMED,
     INCLUDING, WITHOUT LIMITATION, THE SERVICE OF THE RELEASED PARTIES TO
     FACILITATE THE REORGANIZATION OF THE DEBTORS AND THE
     IMPLEMENTATION OF THE RESTRUCTURING AND THE RESTRUCTURING
     TRANSACTIONS, AND EXCEPT AS OTHERWISE PROVIDED IN THE PLAN OR IN THE
     CONFIRMATION ORDER, THE RELEASED PARTIES ARE DEEMED FOREVER
     RELEASED AND DISCHARGED BY THE (I) THE HOLDERS OF ALL CLAIMS WHO
     VOTE TO ACCEPT THE PLAN, (II) HOLDERS OF CLAIMS THAT ARE UNIMPAIRED
     UNDER THE PLAN, (III) HOLDERS OF CLAIMS WHOSE VOTE TO ACCEPT OR REJECT
     THE PLAN IS SOLICITED BUT WHO DO NOT VOTE EITHER TO ACCEPT OR TO
     REJECT THE PLAN, (IV) HOLDERS OF CLAIMS WHO VOTE TO REJECT THE PLAN
     BUT DO NOT OPT OUT OF GRANTING THE RELEASES SET FORTH HEREIN, AND (V)
     THE SENIOR SECURED NOTES TRUSTEE, FROM ANY AND ALL CLAIMS, INTERESTS,
     OBLIGATIONS, SUITS, JUDGMENTS, DAMAGES, DEMANDS, DEBTS, RIGHTS,
     CAUSES OF ACTION, LOSSES, REMEDIES, AND LIABILITIES WHATSOEVER,
     INCLUDING ANY DERIVATIVE CLAIMS, WHETHER KNOWN OR UNKNOWN,
     FORESEEN OR UNFORESEEN, EXISTING OR HEREINAFTER ARISING, IN LAW,
     EQUITY, OR OTHERWISE, THAT SUCH HOLDERS OR THEIR AFFILIATES WOULD
     HAVE BEEN LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER


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     INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY
     CLAIM OR OTHER ENTITY, BASED ON OR RELATING TO, OR IN ANY MANNER
     ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE CHAPTER 11 CASES,
     THE PURCHASE, SALE, OR RESCISSION OF THE PURCHASE OR SALE OF ANY
     SECURITY OF THE DEBTORS OR THE REORGANIZED DEBTORS, THE SUBJECT
     MATTER OF, OR THE TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR
     INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
     ARRANGEMENTS BETWEEN ANY DEBTOR AND ANY RELEASED PARTY, THE
     RESTRUCTURING, THE RESTRUCTURING OF ANY CLAIM OR INTEREST BEFORE OR
     DURING THE CHAPTER 11 CASES, THE RESTRUCTURING TRANSACTIONS, THE
     NEGOTIATION, FORMULATION, OR PREPARATION OF THE DISCLOSURE
     STATEMENT, THE PLAN, THE NEW SECURED DEBT DOCUMENTS AND RELATED
     AGREEMENTS, INSTRUMENTS, AND OTHER DOCUMENTS (INCLUDING THE PLAN
     DOCUMENTS), THE SOLICITATION OF VOTES WITH RESPECT TO THE PLAN, OR
     ANY OTHER ACT OR OMISSION, OTHER THAN CLAIMS OR CAUSES OF ACTION
     ARISING OUT OF OR RELATED TO ANY ACT OR OMISSION OF A RELEASED PARTY
     THAT IS A CRIMINAL ACT OR CONSTITUTES INTENTIONAL FRAUD, GROSS
     NEGLIGENCE, OR WILLFUL MISCONDUCT.

D.   Exculpation

     The Exculpated Parties will neither have nor incur any liability to any Entity for any claims or
     Causes of Action arising before, on or after the Petition Date and prior to or on the Effective Date
     for any act taken or omitted to be taken in connection with, or related to formulating, negotiating,
     preparing, disseminating, implementing, administering, confirming or effecting the
     Consummation of the Plan, the Disclosure Statement or any contract, instrument, release or other
     agreement or document created or entered into in connection with the Plan or any other
     prepetition or postpetition act taken or omitted to be taken in connection with or in contemplation
     of the restructuring of the Debtors, the approval of the Disclosure Statement or confirmation or
     Consummation of the Plan; provided, however, that the foregoing provisions will have no effect
     on the liability of any Entity that results from any such act or omission that is determined in a
     Final Order of the Bankruptcy Court or other court of competent jurisdiction to have constituted
     gross negligence or willful misconduct; provided, further, that each Exculpated Party will be
     entitled to rely upon the advice of counsel concerning its duties pursuant to, or in connection
     with, the above referenced documents, actions or inactions; provided, further, however that the
     foregoing provisions will not apply to any acts, omissions, Claims, Causes of Action or other
     obligations expressly set forth in and preserved by the Plan or the Plan Supplement.

     The Exculpated Parties are, collectively, the following parties: (a) the Debtors, (b) the
     Reorganized Debtors, (c) the Supporting Noteholders, (d) the Senior Secured Notes Trustee, (e)
     the Fuse Litigation Trust, (f) the Litigation Trust Oversight Committee, (f) the Litigation Trustee,
     and (g) the respective Related Persons of each of the foregoing Entities.

E.   Injunction

     EXCEPT AS OTHERWISE PROVIDED IN THE PLAN, FROM AND AFTER THE
     EFFECTIVE DATE, ALL ENTITIES ARE PERMANENTLY ENJOINED FROM
     COMMENCING OR CONTINUING IN ANY MANNER, ANY SUIT, ACTION OR OTHER
     PROCEEDING, OR CREATING, PERFECTING OR ENFORCING ANY LIEN OF ANY
     KIND, ON ACCOUNT OF OR RESPECTING ANY CLAIM, DEMAND, LIABILITY,
     OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION, EQUITY INTEREST, OR REMEDY


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        RELEASED OR TO BE RELEASED, EXCULPATED OR TO BE EXCULPATED, OR
        DISCHARGED OR TO BE DISCHARGED PURSUANT TO THE PLAN OR THE
        CONFIRMATION ORDER. BY ACCEPTING DISTRIBUTIONS PURSUANT TO THE
        PLAN, EACH HOLDER OF AN ALLOWED CLAIM OR EQUITY INTEREST WILL BE
        DEEMED TO HAVE SPECIFICALLY CONSENTED TO THIS INJUNCTION. ALL
        INJUNCTIONS OR STAYS PROVIDED FOR IN THE CHAPTER 11 CASES UNDER
        SECTION 105 OR 362 OF THE BANKRUPTCY CODE, OR OTHERWISE, AND IN
        EXISTENCE ON THE CONFIRMATION DATE, WILL REMAIN IN FULL FORCE AND
        EFFECT UNTIL THE EFFECTIVE DATE.

                            Releases Granted by Members of Classes 1 and 2

        If you are member of Class 1 or Class 2, then, as noted above, you are deemed to have accepted
the Plan and you are deemed to have consented to the third party releases set forth in Article XII of the
Plan and above.

                                Releases Granted by Members of Class 3

       If you are a member of Class 3, and if you voted to accept the Plan, you will be deemed to have
consented to the third party releases set forth in Article XII of the Plan and above.

         If you and are a member of Class 3 and you (i) did not vote either to accept or reject the Plan, or
(ii) voted to reject the Plan and did not check the “opt out” box in Item 3 of your ballot, you shall be
deemed to have consented to the releases set forth in Article XII of the Plan and included in item 3 of
your ballot. For the Class 3 members described in item (ii) of this paragraph, the election to withhold
consent to grant the releases by checking the “opt out” box in Item 3 of your ballot is at your option.

        Hearing on Confirmation of the Plan and the Adequacy of the Disclosure Statement

        The hearing (the “Confirmation Hearing”) will be held before the Honorable Kevin Gross, United
States Bankruptcy Judge of the United States Bankruptcy Court for the District of Delaware, 824 North
Market Street, 6th Floor, Courtroom No. 3, Wilmington, DE 19801, on June 5, 2019, at 10:00 a.m.,
prevailing Eastern time, to consider the adequacy of the Disclosure Statement, any objections to the
Disclosure Statement, confirmation of the Plan, any objections thereto, and any other matter that may
properly come before the Bankruptcy Court. Please be advised that the Confirmation Hearing may be
continued from time to time by the Bankruptcy Court or the Debtors without further notice other than by
such adjournment being announced in open court or in the filing of a notice or a hearing agenda in these
Chapter 11 Cases with the Bankruptcy Court and served on other parties entitled to notice.




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Dated:   May 1, 2019              PACHULSKI STANG ZIEHL & JONES LLP

                                  By: /s/ James E. O’Neill
                                     Richard M. Pachulski (CA Bar No. 90073)
                                     Ira D. Kharasch (CA Bar No. 109084)
                                     James E. O’Neill (DE Bar 4042)
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                                     Proposed Attorneys for Debtors and Debtors in Possession




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